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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

_________________________________________
                                          )
ABDULHADI OMER MAHMOUD                    )
FARAJ,                                    )
                                          )
            Petitioner,                   )
                                          )
      v.                                  )                   Civil Action No. 05-1490 (PLF)
                                          )
BARACK H. OBAMA, et al.,                  )
                                          )
            Respondents.                  )
_________________________________________ )



                                   MEMORANDUM OPINION

               Petitioner Abdulhadi Omer Mahmoud Faraj was released from detention at the

U.S. Naval Station at Guantanamo Bay, Cuba and transferred to Uruguay no later than December

8, 2014. See Government’s Notice of Transfer of Petitioner [Dkt. No. 319]. On February 18,

2015, this Court ordered petitioner to show cause why this case should not therefore be

dismissed as moot. In response, petitioner asserts only continued reputational injury and stigma.

See Petitioner’s Response to Court’s Order to Show Cause at 3 [Dkt. No. 327]. “‘In this circuit,

[however,] when injury to reputation is alleged as a secondary effect of an otherwise moot

action, we [require] some tangible concrete effect . . . susceptible to judicial correction’ before

we assert jurisdiction.” Gul v. Obama, 652 F.3d 12, 20 (D.C. Cir. 2011) (quoting McBryde v.

Comm. To Rev. Circuit Council Conduct, 264 F.3d 52, 57 (2001)) (internal quotation marks

omitted). And Petitioner’s Motion for Injunctive or Declaratory Relief Regarding Respondents’

Wikileaks Guidance [Dkt. No. 286] also does not provide a tangible concrete injury sufficient for

jurisdiction — any hindrance of petitioner’s counsel’s representation regarding this action caused
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by the government’s Wikileaks Guidance necessarily will terminate with this case. Petitioner

therefore has failed to demonstrate a cognizable injury sufficient for this Court to retain

jurisdiction under Article III of the Constitution of the United States.

               For the foregoing reasons, the Court will dismiss this case as moot. An order

consistent with this Memorandum Opinion shall issue this same day.




                                                      _/s/___________________________
                                                      PAUL L. FRIEDMAN
                                                      United States District Judge
DATE: June 24, 2015
